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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                         Case No. 1:24-cv-21983-JB
  CUBANOS PA’LANTE, et al.,
          Plaintiﬀs,
  v.
  FLORIDA HOUSE OF
  REPRESENTATIVES, et al.,
               Defendants.
                                          /

         PLAINTIFFS’ UNOPPOSED MOTION FOR SECOND EXTENSION OF TIME
                          TO FILE MOTION TO COMPEL
          Plaintiﬀs respectfully request an additional 7-day extension of time to May 29, 2025 to ﬁle
  a motion to compel discovery from Defendant Florida House of Representatives.
          1.          On March 11, 2025, Plaintiﬀs served the House with their Second Set of
  Interrogatories and Second Set of Requests for Admission.
          2.          \e House served responses and objections to those requests on April 10, 2025.
          3.          On May 19, 2025, the Court granted Plaintiﬀs a 7-day extension to May 22 to ﬁle
  a motion to compel discovery from the House in connection with the House’s objections. ECF No.
  105.
          4.          \e parties have continued to confer to resolve their dispute, and are nearing a
  resolution. Given the parties’ ongoing conferral, Plaintiﬀs seek an additional 7-day extension of
  time so the parties can continue their discussions and ﬁnalize a resolution of the dispute.
          5.          \e House does not oppose the requested extension, and no party will be prejudiced
  if it is granted.
          WHEREFORE, Plaintiﬀs respectfully request a 7-day extension of time to May 29, 2025
  to ﬁle a motion to compel discovery from the House.

                       LOCAL RULE 7.1(a)(3) CERTIFICATE OF CONFERRAL
          Plaintiﬀs’ counsel has conferred with the counsel for the House, who does not oppose the
  requested relief.


  Respectfully submitted May 22, 2025,


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                                                  /s/ Nicholas L.V. Warren

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